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 DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION TO
    COMPEL THE PRODUCTION OF DOCUMENTS FROM THE TRUSTEE




                       Exhibit G
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